




Dismissed and Memorandum Opinion filed February 26, 2009








Dismissed
and Memorandum Opinion filed February 26, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00146-CR

____________

&nbsp;

THOMAS EDWARD MCDOWELL,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
262nd District Court

Harris County, Texas

Trial Court Cause No. 620872

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
sought DNA testing of evidence in trial court case number 620871.&nbsp; The trial
judge denied this request by written order signed September 5, 2008.&nbsp; No timely
motion for new trial was filed.&nbsp; Appellant=s notice of appeal was not filed
until January 29, 2009.








A
defendant=s notice of appeal must be filed within thirty days after sentence is
imposed when the defendant has not filed a motion for new trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice
of appeal that complies with the requirements of Rule 26 is essential to vest
the court of appeals with jurisdiction.&nbsp; Slaton v. State, 981 S.W.2d
208, 210 (Tex. Crim. App. 1998).&nbsp; If an appeal is not timely perfected, a court
of appeals does not obtain jurisdiction to address the merits of the appeal.&nbsp;
Under those circumstances it can take no action other than to dismiss the
appeal.&nbsp; Id.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

&nbsp;

Panel consists of Justices Yates, Guzman, and
Sullivan.

Do Not Publish C Tex. R. App. P.
47.2(b).

&nbsp;





